

Matter of Burke (2021 NY Slip Op 01311)





Matter of Burke


2021 NY Slip Op 01311


Decided on March 4, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 4, 2021

PM-23-21

[*1]In the Matter of William Francis Burke, an Attorney. (Attorney Registration No. 4854436.)

Calendar Date: March 1, 2021

Before: Egan Jr., J.P., Aarons, Pritzker and Reynolds Fitzgerald, JJ.


William Francis Burke, Wilkes-Barre, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
William Francis Burke was admitted to practice by this Court in 2010 and lists a business address in Forty Fort, Pennsylvania with the Office of Court Administration. Burke now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Burke's application.
Upon reading Burke's affidavit sworn to January 12, 2021 and filed January 19, 2021, and upon reading the February 18, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Burke is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that William Francis Burke's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that William Francis Burke's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that William Francis Burke is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Burke is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that William Francis Burke shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








